Filed 11/28/18                                                                  Case 18-27416                                                                                      Doc 1




         United States Bankruptcy Court for the:
                                                                                                               FILED N
         Eastern District of California
                                                                                                              NOV 28 2018
        Case number (If known):    I pi        Lid                       Chapter you are filing under:
                                                                         U Chapter 7                     NITED STATES BANKRUPTCY COURT
                                                                         U Chapter 11                    EASTERN DlSrClF2N!.
                                                                         U Chapter 12
                                                                         if Chapter 13                         b
                                                                                                                   A AA                         Li   Check if this is an
                                                                                                                    U 1)1.1                          amended filing



       Official Form 101
       Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                            12117

        The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
       joint case—and in Joint cases, these forms use you to ask for Information from both debtors. For example, if a form asks, "Do you own a car,"
        the answer would be yes If either debtor owns a car. When information Is needed about the spouses separately, the form uses Debtor I and
        Debtor 2 to dIstinguish between them. In Joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The
       same person must be Debtor I In all of the forms.
       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
       informatIon. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
       (if known). Answer every question.


      •I           Identity Yourself

                                            About Debtor 1:                                                        About Debtor 2 (Spouse Only in a Joint Case):
           Your full name
           Write the name that is on your    Shannon
           government-issued picture
           identification (for example,     First name                                                             First name
           your driver's license or          Dawn
           passport).                       Middle name                                                            Middle name

           Bring your picture                Lane
           identification to youreeting     Last name                                                              Last name
           with the trustee.
                                            Suffix (Sr.. Jr., II, Ill)                                             Suffix (Sr., Jr., ii, Ill)




           All other names you
           have used in the last 8          First name                                                             First name
           years
           Include your married or          Middle name                                                            Middle name
           maiden names.
                                            Last name                                                              Last name


                                            First name                                                             First name


                                            Middle name                                                            Middle name


                                            Last name                                                              Last name




           Only the last 4 digits of
                                            XXX       -   XX    -   -    0    9 -     5   -  5                     xxx      -    xx    -        -          -
           your Social Security
           number or federal                OR                                                                     OR
           Individual Taxpayer
           Identificationnumber             9 xx      -   XX                 -      -       -                      9xx      -    xx     --       -       -      -



           (ITIN)

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       Debtor I      Shannon Dawn Lane                                                                   Case number
                     FiSt Name   Mste Name                Last Name




                                             About Debtor 1:                                                  About Debtor 2 (Spouse Only In a Joint Case):


           Any bustness names
           and Employer                             I have not used any business names or EIN5.               U      I have not used any business names or EIN5.
           Identification Numbers
           (EIN) you have used in
           the last 8 years                  Business name                                                    Business name
           Include trade names and
           doing business as names           Business name                                                    Business name



                                             EIN                                                              EIN


                                             EI N        -                                                    EIN          -




           Where you live                                                                                     If Debtor 2 lives at a different address:


                                             3489 West Euclid Avenue
                                             Number          Street                                           Number           Street




                                              Stockton                                CA      95204
                                             City                                     State   ZIP Code        City                                     State     ZIP Code

                                             San Joaquin
                                             County                                                           County

                                             If your mailing address Is different from the one                If Debtor 2's maIling address is different from
                                             above, fill It in here. Note that the court will send            yours, fill It In here. Note that the court will send
                                             any notices to you at this mailing address.                      any notices to this mailing address.



                                             Number          Street                                           Number           Street


                                             P.O. Box                                                         P.O. Box



                                             City                                     State   ZIP Code        City                                     State     ZIP Code




           Why you are choosing              Check one:                                                       Check one:
           this district to file for
           bankruntcv                          J Over the last 180 days before filing this petition,          U      Over the last 180 days before filing this petition,
                                                 I have lived in this district longer than in any                    I have lived in this district longer than in any
                                                 other district,                                                     other district.

                                             U      I have another reason. Explain.                           U      I have another reason. Explain.
                                                    (See 28 U.S.C. § 1408.)                                          (See 28 U.S.C. § 1408.)




         Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                        page 2
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       Debtor 1      Shannon Dawn Lane                                                                   Case number (if   ka,oam)_______________________
                     First Name   Middle Name             Last Name




      •t           Yell the Court About Your Bankruptcy Case


             The chapter of the                 Check one. (For a brief descnption of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
             Bankruptcy Code you                forBanknjptcy(Form 2010)). Also, go to the top of page 1 and check the appropriate box.
             are choosing to file
                                                     Chapter 7
             under
                                                U    Chapter 11

                                                U    Chapter 12

                                                id   Chapter1:3


             How you will pay the fee           U I will pay the entire fee when I file my petition.    Please check with the clerk's office in your
                                                     local court for more details about how you may pay. Typically, if you are paying the fee
                                                     yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                     submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                     with a pre-printed address.

                                                     I need to pay the fee in installments. If you choose this option, sign and attach the
                                                     Application for Individuals to Pay The Filing Fee in Installments (Official Form I 03A).

                                                U I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                     less than 150% of the official poverty line that applies to your family size and you are unable to
                                                     pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                     Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



             Have you filed for                      No
             bankruptcy within the
             last 8 years?                      U Yes.    District                              When _______________ Case number
                                                                                                      MM! DD/YYYY
                                                          District                              When                        Case number
                                                                                                        MM! DD!YYYY
                                                          District                              When                        Case number
                                                                                                        MM! DDIYYYY



       io. Are any bankruptcy                        No
           cases pending or being
           filed by a spouse who is             U Yes.    Debtor                                                            Relationship to you
           not filing this case with                      District                              When                        Case number, if known_________________
           you, or by a business                                                                        MM!DD !YVYY
           partner, or by an
           affiliate?
                                                          Debtor                                                            Relationship to you
                                                          District                              When                        Case number, if known____________________
                                                                                                        MM I DD I YYYY



       ii.   Do you rentyour                    Ild No. Gotolinel2.
             residence?                         U Yes. Has your landlord obtained an eviction judgment against you?
                                                           U   No. Go to line 12.
                                                           U   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                               part of this bankruptcy petition.




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       Debtorl          Shannon Dawn Lane                                                                        Casenumber
                       Pest Name         Midee Name             Last Name




                     Report About Any Businesses You Own as a Sole Proprietor


             Are you a sole proprietor                   No. Go to Part 4.
             of any full- or part-time
             business?                                U Yes. Name and location of business
             A sole proprietorship is a
             business you operate as an
                                                               Name of business, if any
             individual, and is not a
             separate legal entity such as
             a corporation, partnership, or
                                                               Number        Street
             LLC.
             If you have more than one
             sole proprietorship, use a
             separate sheet and attach it
             to this petition.
                                                                City                                                   State         ZIP Code


                                                               Check the appropriate box to describe your business:
                                                               U   Health Care Business (as defined in ii U.S.C. § 101 (27A))
                                                               U   Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                                               U   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                               U   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                               U   None of the above


             Are you filing under                     If you are filing under Chapter 11, the cou,'t must know whether you are a small business debtor so that it
             Chapter 11 of the                        can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
             Bankruptcy Code and                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                      any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
             are you a small busins
             debtor?
                                                       1 No.   lam not filing under Chapter 11.
             For a definition of small
             business debtor, see                     U No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
             11 U.S.C. § 101(51D).                             the Bankruptcy Code.

                                                      U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                               Bankruptcy Code.


       •F1           Report It You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


             Do you own or have any                      No
             property that poses or is
             alleged to pose a threat                 U Yes. What is the hazard?
             of imminent and
             identifiable hazard to
             public health or safety?
             Or do you own any
             property that needs
                                                                If immediate attention is needed, why is it needed?
             immediate attention?
             For example, do you own
             perishable goods, or livestock
             that must be fed, or a building
             that needs urgent repairs?
                                                                Where is the property?
                                                                                          Number        Street




                                                                                          City                                           State     ZIP Code


         Official Form 101                                      Voluntary Petition for individuals Filing for Bankruptcy                                  page 4
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       Debtorl       Shannon Dawn Lane                                                                          Casenumber
                     FimI Name      Middle Name              Laet Name




      • 1L Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                  About Debtor I                                                     About Debtor 2 (Spouse Only In a Joint Case):
       IS. Tell the court whether
          you have received a
          briefing about credit                   You must checkone:                                                 You must check one:
          counseling.
                                                      I received a briefing from an approved credit                  U   I received a briefing from an approved credit
                                                      counseling agency withIn the 180 days before I                     counseling agency within the 180 days before I
          The law requires that you                   filed this bankruptcy petition, and I received a                   flied this bankruptcy petition, and I received a
          receive a briefing about credit             certificate of completion.                                         certificate of completion.
          counseling before you file for
                                                      Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
          bankruptcy. You must
                                                      plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you               U   I received a briefing from an approved credit                  U   I received a briefing from an approved credit
          cannot do so, you are not
                                                      counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          eligible to file.                           filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                      certificate of completion.                                         certificate of completion.
          If you file anyway, the court               Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                                      you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                                      plan, if any.                                                      plan, if any.
          you paid, and your creditors
          can begin collection activities         U   i certify that I asked for credit counseling                   U   I certify that I asked for credit counseling
          again.                                      services from an approved agency, but was                          services from an approved agency, but was
                                                      unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                      days after I made my request, and exigent                          days after I made my request, and exigent
                                                      circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                      of the requirement.                                                of the requirement.
                                                      To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                    required you to file this case.
                                                      Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                      if the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                      You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                      may be dismissed.                                                  may be dismissed.
                                                      Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                      days.                                                              days.

                                                  U   I am not required to receive a briefing about                  U   I am not required to receive a briefing about
                                                      credit counseling because of:                                      credit counseling because of:

                                                      U   Incapacity. I have a mental illness or a mental                U   Incapacity.    I have a mental illness or a mental
                                                                        deficiency that makes me                                            deficiency that makes me
                                                                        incapable of realizing or making                                    incapable of realizing or making
                                                                        rational decisions about finances.                                  rational decisions about finances.
                                                      U   Disability.    My physical disability causes me                U   Disability.    My physical disability causes me
                                                                         to be unable to participate in a                                   to be unable to participate in a
                                                                         briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                         through the internet, even after I                                 through the internet, even after I
                                                                         reasonably tried to do so.                                         reasonably tried to do so.
                                                      U Active duty.     I am currently on active military               U Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                    duty in a military combat zone.
                                                      If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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       Debtorl         Shannon Dawn Lane                                                                     Casenumber(ffknoam)______________________
                      Fast Name     Mlddte Name              Last Name




      •TI Answer These Questions for Reporting Purposes

                                                  16a. Are your debts primarily consumer debts? Consumer debts are defined in ii U.S.C. § 101(8)
       16.   What kind of debts do                     as Incurred by an individual pnmarily for a personal, family, or household purpose."
             you have?
                                                       U    No. Goto line 16b.
                                                            Yes. Gotollne 17.

                                                  16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                       money for a business or investment or through the operation of the business or investment.

                                                      U     No. Go to line 16c.
                                                      U     Yes. Gotoline 17.

                                                  1 6c. State the type of debts you owe that are not consumer debts or business debts.



       17.   Are you filing under
             Chapter 7?                              No. lam not filing under Chapter 7. Go to line 18.

             Do you estimate that after           U Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
             any exempt property is                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
             excluded and                                   U   No
             administrative expenses
             are paid that funds will be                    U   Yes
             available for distribution
             to unsecured creditors?

             How many creditors do                   1-49                                U   1,000-5,000                             U   25,001-50,000
             you estimate that you                U 50-99                                U   s,00i-io,000                            U   50,001-100,000
             owe?                                 U 100-199                              U   10,001-25,000                           U   More than 100,000
                                                  U 200-999
             How much do you                      U $0-$50,000                           U $1,000,001-$10 million                    U $500,000,001-$1 billion
             estimate your assets to              U $50,0014100,000                      U $10,000,001-$50 million                   U $1,000,000,001410 billion
             be Worth?                            0 $1 00,001-$500,000                   U $50,000,001-$100 million                  U $1 0,000,000,001-$50 billion
                                                  U $500,00141 million                   U $100,000,0014500 million                  U More than $50 billion
             How much do you                      U $0-$50,000                           U $1,000,001-$10 million                    U $500,000,001-$1 billion
             estimate your liabilities            U $50,0014100,000                      U $10,000,001450 million                    •U $1,000,000,001410 billion
             to be?                                  $100,001-$500,000                   U $50,000,001-$100 million                  U $10,000,000,001450 billion
                                                  U $500,001-s1 million                  U $100,000,001-$500 million                 U More than $50 billion
       •IT'         Sign Below

                                                  I have examined this petition, and I declare under penalty of peijury that the information provided     is true and
        For you                                   correct.
                                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.
                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attomey to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                               152,13,1519,and                        ,



                                                     Signa ure of Debtor 1                                            Signature of Debtor 2

                                                     Executed on 11/28/2018                                           Executed on
                                                                         MM / DO /VYYY                                               MM! DO /YYYV
             ---                                                                          -              --                                                          _

         Official Form 101                                   Voluntary PetItion for IndIviduals Filing for Bankruptcy                                       page 6
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        Debtor 1      Shannon Dawn Lane                                                                      Case number (If   known)________________________
                      First Name   Middle Name               Last Name




                                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
        For your attorney, if you are            to proceed under Chapter 7, 11 12, or 13 of title 11, United States Code, and have explained the relief
        represented by one                       available under each chapter 1r which the person is eligible. I also certify that I have delivered to the debtor(s)
       •                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
       • If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
       • by an attorney, you do not
        need to file this page.
                                                                                                                      Date
                                                    Signature of Attorney for Debtor                                                 MM    I    DD / YYYY




                                                     Printed name



                                                            name



                                                    Number Street




                                                     City                                                            State           ZIP Code




                                                     Contact phone                                                   Email address




          Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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        Debtor I     Shannon Dawn Lane                                                                Case number   (if
                     First Name   Middle Name          Last Name




        For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
        bankruptcy without an                   should understand that many people find it extremely difficult to represent
        attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                                consequences, you are strongly urged to hire a qualified attorney.
        If you are represented by
        an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
        need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                                dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                                hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                                firm if your case is selected for audit. If that happens, you could lose your right to file another
                                                case, or you may lose protections, including the benefit of the automatic stay.

                                                You must list all your property and debts in the schedules that you are required to file with the
                                                court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                                in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                                property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                                also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                                case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                                cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                                Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                                If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                                hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                                successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                                Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                                be familiar with any state exemption laws that apply.

                                                Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                                consequences?
                                                UN0
                                                id   Yes

                                                Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                                inaccurate or incomplete, you could be fined or imprisoned?
                                                     No
                                                     Yes

                                                Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                                   No
                                                U Yes. Name of Person
                                                           Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                                By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                                have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                                attorney may cause me to lose my rights or property if I do not properly handle the case.




                                                 Signature of Debtor 1                                         Signature of Debtor 2

                                                Date                11/28/2018                                 Date
                                                                   MM/DD /YYYY                                                  MM/ DD/YYYY
                                                Contact phone (209) 684-8134                                   Contact phone

                                                Cell phone         (209) 6848134                               Cell phone

                                                Email address ohmygode©me.com                                  Email address


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                                                                 Certificate Number: 15725-CAE-CC-03 1959137

                                                                11111111 IIIIIIIIIIIIIHIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII
                                                                                     15725-CAE-CC-031959137




                                      CERTIFICATE OF COUNSELING

                 I CERTIFY that on November 28, 2018, at 2:40 o'clock PM EST, Shannon Lane
                 received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. §
                 111 to provide credit counseling in the Eastern District of California, an
                 individual [or group] briefing that complied with the provisions of 11 U.S.C. §
                 109(h) and 111.
                 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
                 copy of the debt repayment plan is attached to this certificate.
                 This counseling session was conducted by internet.




                 Date: November 28, 2018                         By:        Is/Ens Apanicio


                                                                 Name: Ens Aparicio


                                                                 Title: Counselor




                 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
                 Code are required to file with the United States Bankruptcy Court a completed certificate of
                 counseling from the nonprofit budget and credit counseling agency that provided the individual
                 the counseling services and a copy of the debt repayment plan, if any, developed through the
                 credit counseling agency. See 11 U.S.C. § § 109(h) and 521(b).
